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                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF COLORADO

 Case No: 1:20-cv-2475-NYW

 DEBORAH LAUFER,
          Plaintiff,
 v.

 RANDALL J. LOOPER and
 CYNTHIA C. LOOPER dba
 ELK RUN INN,
            Defendants.


                        PLAINTIFF’S RESPONSE IN OPPOSITION TO
                           DEFENDANT’S MOTION TO DISMISS


 I.     Introduction

        Plaintiff, is a disabled person as defined by the Americans With Disabilities Act, 42

 U.S.C. Sections 12181, et seq. (“ADA”). Defendant books rooms for its hotel through an

 online online reservations service operated through multiple websites.           (Hereinafter

 “websites”, “online reservations systems” or “ORS”.) Laufer Affid., para. 6, Exhibit A

 attached hereto. The purpose of this ORS is so that Defendant can reach out and market

 to persons all over the country, including Florida, in their own homes, to solicit their

 patronage, provide them with information so that they can make a meaningful choice in

 planning trips, and, in some instances, book a room at the hotel. As such, the Defendant’s

 ORS    is   required    to   comply with    the   requirements    of   28   C.F.R.   Section

 36.302(e)(1)(hereinafter “Regulation”), by identifying and allowing for booking of accessible

 rooms and providing accurate and sufficient information as to whether all the features at

 the hotel are accessible. On multiple occasions prior to the filing of this lawsuit, Plaintiff

 reviewed the ORS for Defendant’s hotel and found that it did not comply with the
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 Regulation. Laufer Affid., para. 6. Plaintiff therefore filed the instant action for injunctive

 relief pursuant to the ADA. Plaintiff also has a system to ensure that she properly maintains

 standing. Id. at para. 8. She maintains a list of all hotels she has sued over ORS

 violations. Id. She goes through and updates this list constantly. Id. With respect to each

 hotel she sues or has sued, she revisits the hotel’s ORS shortly after the complaint is filed.

 She also records the date when the ORS is required to be complaint and then revisits it.

 By this system, Plaintiff has already revisited the ORS for this hotel after having filed her

 Complaint. Id.

 II.    The Applicable Standard

        A court “must convert a Rule 12(b)(1) motion to one under Rule 12(b)(6), or for [Rule

 56] summary judgment, "'if the jurisdictional question is intertwined with the merits of the

 case.'" Franklin v. Sav. Corp. v. U.S., 180 F.3d 1124, 1129 (10th Cir. 1999); Bell v. U.S.,

 127 F.3d 1226, 1228 (10th Cir. 1997); Wheeler v. Hurdman, 825 F.2d 257, 259 (10th Cir.

 1987). "When deciding whether jurisdiction is intertwined with the merits of a particular

 dispute, 'the underlying issue is whether resolution of the jurisdictional question requires

 resolution of an aspect of the substantive claim.'" Davis ex rel. Davis v. U.S., 343 F.3d

 1282, 1296 (10th Cir. 2003)(Hartz, J.)(quoting Sizova v. Nat'l Inst. of Standards & Tech.,

 282 F.3d 1320, 1324 (10th Cir. 2002). Under Fed. R. Civ. P 12(b)(6), the allegations of the

 complaint must be taken as true. Mobley v. McDormick, 40 F.3d 337, 340 (10th Cir. 1994).

 Under the standard governing rule 56, a court cannot weigh the evidence, but can only

 assess the threshold issue whether a genuine issue exits as to material facts requiring a

 trial and must resolve all reasonable inferences and doubts in the favor of the non-moving



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 party. Begay v. Unites States, 188 F.Supp.3d 1047, 1073-74 (D. N.M. 2016)(citing

 Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249 (1986); Hunt v. Cromartie, 526 U.S.

 541, 550-55 (1999)

        In the case at bar, Defendant is challenging whether or not Plaintiff suffered an

 injury. These issues are inextricably intertwined with the merits of her claims under 42

 U.S.C. Section 12182 and right to injunctive relief pursuant to 42 U.S.C. Section 12188.

 As Plaintiff is supplementing her response with an affidavit, this Court must apply the

 standards of Rule 56.

 III.   Defendant’s Theory Has Been Widely Rejected

        Defendant ignores the overwhelming body of caselaw that hold that the law omits

 any requirement that the disabled plaintiff intend to book a room or visit the hotel. Although

 this Plaintiff intends to visit Colorado, stay in hotels, and is injured because the failure of

 the Defendant’s hotel to comply with the Regulation deprives her of the information she

 needs to plan her trip, none of this is required. In other words, the Plaintiff’s encounter with

 the discriminatory information is sufficient. In Laufer v. U.L.S.T., LLC dba Waterfront Hotel

 & Marina, 2020 U.S. Dist. LEXIS 206417 (N.D.Ill. 11/4/20) (“Watefront”), one court recently

 held that Laufer has standing to sue for strictly informational injury for encountering a

 discriminatory ORS even in the absence of any intent to ever travel to the area of the hotel.

 In Parks v. Richard, 2020 U.S. Dist. Lexis 86790 (M.D. Fla. 2020), one court rejected the

 defendant’s argument that the plaintiff needed to intend to book a room at the hotel. The

 court held that the:

        ADA claim is based upon [defendant's] website failing to identify the accessible
        features of the motel and its rooms, in violation of 28 C.F.R. § 36.302(e)(1)(ii).


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        Therefore, the relevant 'future injury' inquiry relates to the motel's website and
        reservation system, rather than the motel's physical property." [Citation omitted.]
        While Parks may have never visited the motel, he visited its website and several
        third-party sites.

 Id. at *7. In Poschmann v. Fountain TN, LLC, 2019 U.S. Dist. Lexis 159417, **4-6 (M.D.

 Fla. 2019), another court rejected the physical nexus argument, holding that the plaintiff’s

 ADA claim was based on the discriminatory website and, “[t]herefore, the relevant "future

 injury" inquiry relates to the motel's website and reservation system, rather than the motel's

 physical property.” In Poschmann v. Coral Reef of Key Biscayne Developers, Inc., 2018

 U.S. Dist. Lexis 87457. *8 (S.D. Fla. 2018), another court recognized the plaintiff’s motive

 for returning to the discriminatory website as either “ to determine whether the Hotel is

 accessible to him, and, if so, to reserve a room at the Hotel or to test the Hotel's Website

 reservation system for its compliance with the ADA.” (Emphasis added.) By inclusion of the

 word “or” the court held that motive to review the website solely to test it was sufficient and

 that intending to book a room is not required. Numerous other courts have rejected the

 intent-to-book a room/physical nexus argument. See Kennedy v. Nisha, Inc., 2020 U.S.

 Dist. LEXIS 170829 (M.D. Fla. 9/17/20)(the weight of authority supports standing). See

 also Kennedy v. Galleon Resort Condominium Assn, Inc., et al., 19-cv-62421-CMA, DE 52

 (S.D. Fla. 1/28/20)1; Kennedy v. Gold Sun Hospitality, LLC, 8:18-cv-842-T-33CPT, DE 23,

 at pp. 30-31, (M.D. Fla. June 18, 2018); Kennedy v. Swagath Hospitality, LLC, 0:19-cv-

 60583-DPG, DE 27 (S.D. Fla. 1/2/2020); Kennedy v. WGA, 2:19-cv-0095-RWS, DE 16,

 p. 9 (N.D. Ga. 11/5/2019); Kennedy v. Nila Investments, LLC, 2:19-cv-90-LGW-BWC, DE



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          The unpublished opinions rejecting the physical nexus argument are contained as
 exhibits to Plaintiff’s Request For Judicial Notice, filed contemporaneously herewith.

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 34 (S.D. Ga. 7/1/20); Kennedy v. New Yorker Hotel, Miami, LLC, 0:18-cv-62897-WPD, DE

 34 (6/6/19); Kennedy v. Murnane, et al., 0:18-cv-63086-WPD, DE 10 (S.D. Fla. 3/5/19).

          Numerous other courts have held that a disabled person suffers injury-in-fact when

 they visit a hotel’s discriminatory online reservations system. See Kennedy v. Sai Ram

 Hotels, LLC, 2019 U.S. Dist. LEXIS 80111, *4-6 (M.D. Fla. 5/13/19), citing Honeywell v.

 Harihar Inc., 2018 U.S. Dist. LEXIS 203740,(M.D. Fla. Dec. 3, 2018); Kennedy v. Floridian

 Hotel, Inc., 2018 U.S. Dist. LEXIS 207984, at *9 (S.D. Fla. 2018); Brooke v. Regency Inn-

 Downey, LLC, 2017 U.S. Dist. Lexis 150716 (D. Ariz. 2017). Numerous additional cases

 support the proposition that viewing a discriminatory commercial website constitutes injury-

 in-fact in the context of vision impairment based claims. See, e.g. Carroll v. Fedfinancial

 Fed. Credit Union, 324 F. Supp. 3d 658, 664 (E.D. Va. 2018); Access Now, Inc. v. Otter

 Prods., LLC, 280 F. Supp. 3d 287, 294 (D. Mass. 2017); Jones v. Piedmont Plus Fed.

 Credit Union, No. 1:17-CV-5214- RWS, 2018 WL 4694362, at *1 (N.D. Ga. Sept. 26,

 2018).

          Courts have also rejected the applicability of ADA cases involving physical violations

 at physical properties. See Camacho v. Vanderbilt Univ., 2019 U.S. Dist. Lexis 209202, *30

 (S.D.N.Y. 2019) (holding that cases applying distance element to discrimination at physical

 properties are irrelevant to website discrimination claims). The issue is whether the plaintiff

 would return to the discriminatory website: not the physical property. Id. See also Parks,

 2020 U.S. Dist. Lexis 86790 at *6;       Kennedy v. Sai Ram Hotels, 2019 U.S. Dist. Lexis

 80111, * 9 (M.D. Fla. 2019). Another court has held that the distance factor not applicable

 to commercial websites (in vision impaired discrimination) because (1) website cases do



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 not involve physical locations; and (2) no travel is required. Gniewkowski, et al v. Lettuce

 Entertain You Enterprises, Inc., et al., 251 F. Supp.3d 908, 920 (W .D. Pa. 2017).2

 IV.    Testers Have Standing

        Testers have standing under Title III of the ADA. Colo. Cross-Disability Coalition v.

 Abercrombie & Fitch Co., 765 F.3d 1205, 1211 (10th Cir. 2014); Houston v. Marod

 Supermarkets, Inc., 733 F.3d 1323, 1333-34 (11th Cir. 2013); Civil Rights Educ. &

 Enforcement Ctr. v. Hosp. Properties Trust, 867 F.3d 1093, 1101 (9th Cir. 2017). See also

 Tandy v. City of Wichita, 380 F3d 1277, 1285-90 (10th Cir. 2004)(recognizing tester

 standing to sue under Title II ADA). As such, the disabled person’s motive is entirely

 irrelevant because all that matters is whether they encountered discrimination as defined

 by plain words the Statute. Marod, passim. Some courts have held that status a tester “

 plausibly increases the likelihood that she will visit the [defendant’s] website again to test

 its ADA compliance.” Kennedy v. Sai Ram Hotels, 2019 U.S. Dist. Lexis 80111, * 9 (M.D.

 Fla. 2019); Marod, 733 F.3d at 1336 (explaining that plaintiff’s status as a tester indicated

 that he would revisit the property many times and therefore tended to show a real and

 immediate threat of future injury). Moreover,“[i]t is not unprecedented in this country for

 advocacy groups and individual members of advocacy groups to find it necessary to file

 a long trail of lawsuits in federal courts to enforce legal and civil rights.” Marod, 733 F.3d

 at 1326. The entire purpose of the ADA and its fee shifting provision was to eradicate




        2
          The distance factor is also not applicable in the context of hotels because hotels are, by
 nature, established to accommodate travelers from afar. Parks, 2020 U.S. Dist. Lexis 86790 *6;
 Bodley v. Plaza Management Corp., 550 F.Supp.2d 1085, (D. Ariz. 2008); D’Lil v. Best Western
 Encina Lodge & Suites, 415 F. Supp.2d 1048, 1056 (C.D. Cal. 2006).

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 discrimination against disabled persons by encouraging individuals to act as private

 attorneys general to actively enforce the provisions of these civil rights statutes. See

 Hensley v. Eckerhart, 461 U.S. 424, 445 (1983) (“All of these civil rights laws depend

 heavily upon private enforcement...”). Indeed, if it were not for this Plaintiff, Defendant

 would be free to discriminate against disabled persons.

 V.     The Rules Of Statutory Construction Prohibit The Imposition Of A Physical
        Nexus Requirement

        A.     Plain Language

        Under the plain meaning rule of statutory construction a court must give effect to

 that language and refrain from further stautory interpretation. In re. Foah, 2012 Bankr.

 Lexis 1206, n. 7 (B.R. N.M. 2012). The rule prohibits a court from abandoning the plain

 language of a statute unless it is ambiguous. In re Spade, 258 B.R. 221, 228 (B.R. Colo.

 2001). “As with any question of statutory interpretation, our analysis begins with the plain

 language of the statute. ... It is well established that, when the statutory language is plain,

 we must enforce it according to its terms.” Jiminez v. Quarterman, 555 U.S. 113, 118

 (2009)(citations omitted). If the language is unambiguous, no further inquiry is necessary.

 Clark v. Astrue, 602 F.3d 140, 147 (2d Cir. 2010). A court cannot rewrite a statute to reflect

 a meaning it deems more desirable. Ali v. Fed. Bureau of Prisons, 552 U.S. 214, 228

 (2008). A court is not allowed to add or subtract words from a statute. Marod, 733 F.3d at

 1334. In the case at bar, the Defendant essentially requests that this Court ignore the plain

 and unambiguous words of the Statute and Regulation and judicially add an intent or

 physical nexus requirement, in violation of the applicable rules of statutory construction.

        Plaintiff’s claims are based on the following: 42 U.S.C. Section 12188(a) provides


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 for injunctive relief to “any person who is being subjected to discrimination on the basis of

 disability in violation of this subchapter...” 42 U.S.C. Section 12182(a) provides: “No

 individual shall be discriminated against on the basis of disability in the full and equal

 enjoyment of the ... services ... of any place of public accommodation.... 42 U.S.C. Section

 12182(b)(2)(A) provides that the definition of “discrimination” includes: “a failure to make

 reasonable modifications in policies, practices, or procedures ... to afford such ... services

 ... to individuals with disabilities....” 42 U.S.C. Section 12182(b)(2)(A)(ii). Pursuant this

 latter Subsection, the Department Of Justice (“DOJ”) promulgated the Regulation, which

 requires that hotel online reservations systems provide a booking option for accessible

 rooms (in the same manner as other rooms) and additional provide information about

 whether or not the features at the hotel are truly accessible. The Statute and Regulation3

 are directly on point and unambiguously spell out all the elements of a cause of action.

 Failure of an online reservations system to comply with the requirements of the Regulation

 constitutes a failure to comply with 42 U.S.C. Section 12182(b)(2)(A)(ii). This qualifies as

 “discrimination” in denial of full and equal enjoyment of a service4 and is thus a violation

 of 42 U.S.C. Section 12182(a) and is thus fully actionable without more required. It also

 constitutes “discrimination’ under Section 12182(b)(2)(A)(ii). Under Section 12188, “any

 person who is being subjected to discrimination” has the right to sue.          The rules of



        3
         A regulation promulgated pursuant to Congressional authority must be given controlling
 weight. Chevron, U.S.A., Inc. v. NRDC, Inc., 467 U.S. 837, 843-44 (1984).
        4
          A website is a “service” of a place of public accommodation. Haynes v. Dunkin Donuts,
 LLC, 741 Fed. Appx. 752, 754 (11th Cir. 2018) (unpublished) (describing a commercial website
 as a “service” of a place of public accommodation); Nat’l Fed’n Of The Blind v. Target Corp.,
 452 F. Supp. 946, 953 (N.D. Cal. 2006)(same).

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 statutory construction mandate a finding that a physical nexus requirement can NOT be

 imposed because any language expressing this requirement is conspicuously missing from

 the above cited Regulation and Statutory subsections.

        B.      Truthful Information, Testers And Intent

        In Havens Realty Corp. v. Coleman, 455 U.S. 363 (1982), the Supreme Court held

 that black testers had suffered injury under the Fair Housing Act and had the right to sue

 for deprivation of truthful information, even though they did not intend to rent or purchase

 an apartment. The Court held that:

        “As we have previously recognized, "actual or threatened injury required by Art. III
        may exist solely by virtue of 'statutes creating legal rights, the invasion of which
        creates standing . . . .'" Warth v. Seldin, [522 U.S. 490], 500 [(1975)], quoting Linda
        R. S. v. Richard D., 410 U.S. 614, 617, n. 3 (1973). Accord, Sierra Club v. Morton,
        405 U.S. 727, 732 (1972); Trafficante v. Metropolitan Life Ins. Co., 409 U.S. 205,
        212 (1972) (WHITE, J., concurring). Section 804(d), which, in terms, establishes an
        enforceable right to truthful information concerning the availability of housing, is
        such an enactment. A tester who has been the object of a misrepresentation made
        unlawful under § 804(d) has suffered injury in precisely the form the statute was
        intended to guard against, and therefore has standing to maintain a claim for
        damages under the Act's provisions. That the tester may have approached the real
        estate agent fully expecting that he would receive false information, and without any
        intention of buying or renting a home, does not negate the simple fact of injury
        within the meaning of § 804(d). See Pierson v. Ray, 386 U.S. 547, 558 (1967);
        Evers v. Dwyer, 358 U.S. 202, 204 (1958) (per curiam).

 Havens Realty, 455 U.S. at 373-74 (Emphasis added.)

        In Marod, 733 F.3d at 1330-33, the Eleventh Circuit compared the operative

 language of the ADA and found that it substantially paralleled the same language used by

 the Havens Realty Court and the Tenth Circuit’s holding in Tandy v. City Of Wichita, 380

 D.3d 1277 (10th Cir. 2004)5, in holding that testers have standing and that intent and motive

        5
         In Tandy, the Tenth Circuit had performed a similar analysis in holding that testers have
 standing under the ADA’s Title II.

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 are entirely irrelevant.

        In Tandy, 380 F3d at 1290, the Tenth Circuit applied Havens Realty to a Title II

 ADA action as follows:

        [Plaintiff] has shown that her injury is traceable to the action she seeks to have
        adjudicated. The action she seeks to have adjudicated is Wichita Transit's alleged
        failure to provide her with adequate information concerning its transportation
        services.... [Plaintiff’s] affidavit suffices, at this stage of litigation, to show that she
        could not obtain any information from the TDD line. [Plaintiff’s] injury is therefore
        traceable to Wichita Transit's allegedly wrongful failure to provide her with adequate
        information concerning its transportation services. This injury is redressable by
        compensatory or nominal damages. Therefore, Jeffries has standing to sue for
        damages.

 (Emphasis added). Thus, under Havens Realty and Tandy, testers have standing and

 suffer injury in fact when they are deprived of information which a defendant is obligated

 to provide them. Moreover, they have standing as testers and no intent requirement can

 be imposed. Rather, a court must look strictly to the plain language of the statute which

 created the injury.

        In Abercrombie & Fitch Co., 765 F.3d at 1211, the Tenth Circuit followed Marod and

 held that because Title III provides remedies for “‘any person’ subjected to illegal disability

 discrimination”, motivation is irrelevant.

        In addition to Havens Realty and Tandy, numerous courts have recognized injury

 strictly limited to the deprivation of information with nothing additional required. In Spokeo,

 Inc. v. Robins, 136 S. Ct. 1540 (2016), the Supreme Court held that improper information

 which violated the Fair Credit Reporting Act did not, by itself, constitute injury, but

 specifically recognized the existence of statutes which provide that the dissemination of

 improper information constitutes an injury with nothing more required.



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                Just as the common law permitted suit in such instances, the violation of a
        procedural right granted by statute can be sufficient in some circumstances to
        constitute injury in fact. In other words, a plaintiff in such a case need not allege any
        additional harm beyond the one Congress has identified. See Federal Election
        Comm’n v. Akins, 524 U. S. 11, 20-25, [] (1998) (confirming that a group of voters’
        “inability to obtain information” that Congress had decided to make public is a
        sufficient injury in fact to satisfy Article III); Public Citizen v. Department of Justice,
        491 U. S. 440, 449, [] (1989) (holding that two advocacy organizations’failure to
        obtain information subject to disclosure under the Federal Advisory Committee Act
        “constitutes a sufficiently distinct injury to provide standing to sue”).

 Spokeo, 136 S.Ct. at 1549-50. Numerous other circuit courts have followed Havens

 Realty, 455 U.S. 363 (1982) in recognizing informational injury. Ragin v. Harry Maclowe

 Real Estate Co., 6 F.3d 898, 904 (2nd Cir. 1993)(black testers had standing to sue over

 discriminatory advertisement even though they had no intention of renting apartment);

 Bensman v. U.S. Forest Serv., 408 F.3d 945, 955-57 (7th Cir. 2005)(surveying cases and

 statutes where informational injury is recognized and actionable); Watts v. Boyd Properties,

 758 F.2d 1482 (11th Cir. 1985)(tester who had no intention of renting apartment had

 standing to sue for receiving misleading information from defendant about apartment

 availability); Carter v. Welles-Bowen Realty, Inc. 553 F.3d 979, 989 (6th Cir.

 2009)(discussing informational injury); Wilderness Soc’y v. Rey, 622 F.3d 1251, 1258-60

 (9th Cir. 2010)(discussing informational injury); In re Nickelodeon Consumer Privacy Litig.,

 827 F.3d 262, 273-74 (3rd Cir. 2016)(recognizing intangible harm as including unlawful

 denial of access to information subject to disclosure); Carello v. Aurora Policemen Credit

 Union, 930 F. 3d 830, 832-33 (7 th Cir. 2019)(recognizing informational injury).

        A reading of the above cited cases leads to a summary of the applicable law as

 follows. If the defendant is under a legal mandate to provide information to the class of

 persons of whom plaintiff is a member, then failure to provide that information gives rise


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 to injury-in-fact, or “informational injury” and nothing more is required and the plaintiff’s

 intent or tester status is irrelevant.6 Application of this doctrine is illustrated in Cooper v.

 Stephen Bruce & Assocs., 2019 U.S. Dist Lexis 1013 (W.D. Ok. 2019). In that case, the

 court considered Spokeo and held that the plaintiff’s receipt of misleading information was

 sufficient injury, with nothing additional required, because such was a violation of the Fair

 Debt Collection Practices Act.

        C.      Restrictive Language Found Elsewhere Cannot Be Imported

        It is highly significant, and dispositive, that other subsections contain restrictive

 language which is conspicuously absent from the subsections and Regulation that govern

 an ORS.

         "[W]here Congress includes particular language in one section of a statute but
        omits it in another section of the same Act, it is generally presumed that Congress
        acts intentionally and purposely in the disparate inclusion or exclusion."

 Bates v. U.S., 522 U.S. 23, 29-30 (1997); INS v. Cardoza—Fonseca, 480 U.S. 421, 432

 (1987). Although not an ADA case, the Supreme Court’s decision in Bates is helpful.

 There, the Court analyzed whether a lower court could properly impose an intent

 requirement into a criminal statute and held that because such a requirement was present

 in a different subsection, but missing from the one at issue, that it could not be judicially

 imposed. Id. at 29-30. This concept was also applied in Havens Realty, 455 U.S. at 374,

 which noted that the requirement of a “bona fide offer” was included in one section of the

 FHA, but could not be applied to the testers at issue because it was not included in the

        6
          For example, the statute at issue in Spokeo required the defendant to provide accurate
 information to third parties (creditors) - of whom the plaintiff was not a member of the class. By
 contrast, the Regulation and Statute in this instance require that hotels provide certain
 information to disabled persons - the class of which this plaintiff is a member.

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 section that governed. In Marod, 733 F.3d at 1333 and PGA Tour v. Martin, 532 U.S. 661,

 678-79 (2001), it was noted that because a “client or customer” restriction was contained

 in another subsection of the ADA, but absent from the provisions that governed their cases

 (12182(a)), it could not be imposed as a requirement.

        In addition to the “clients or customers” requirement of 42 U.S.C. Section

 12182(b)(1)(A), two other subsections of this statute also contain additional restrictions

 imposing physical nexus or intent requirements. 42 U.S.C. Section 12182(b)(2)(A)(i)

 prohibits:

        “the imposition or application of eligibility criteria that screen out or tend to screen
        out an individual with a disability or any class of individuals with disabilities from
        fully and equally enjoying any goods, services, facilities, privileges, advantages, or
        accommodations...” (Emphasis added.)

        In that Subsection, the word “from” is critical because its insertion in the Subsection

 means that a disabled person’s encounter with discriminatory eligibility criteria by itself

 does not give rise to a cause of action unless and until that criteria prevents them “from”

 full and equal access to goods or services. Similarly, 12182(b)(2)(A)(iii) defines

 discrimination as including:

        a failure to take such steps as may be necessary to ensure that no individual with
        a disability is excluded, denied services, segregated or otherwise treated differently
        than other individuals because of the absence of auxiliary aids and services...

 (Emphasis added.) Under this subsection, absence of an auxiliary aid (i.e. screen reader

 software), is not discrimination unless and until it additionally causes exclusion, denial of

 services, segregation or other different treatment. In short, 12182(b)(2)(A) has four sub-

 parts: two of which have physical nexus requirements and two of which do not.

 12182(b)(2)(A)(ii), which governs online reservations systems, does NOT have any such


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 requirement. Because such language is conspicuously absent from any of the provisions

 that govern online reservations systems, it cannot be imposed.

 VI.    Defendant’s Reliance on Mann And Laxmi Is Misplaced

        Defendant cites Laufer v. Mann Hospitality, LLC, 1:20-cv-620-JRN, DE 15 (W.D.

 Tex. 9/30/20), in which one court in the Western District of Texas recently ruled that Laufer

 lacks standing. Mann was appealed to the U.S. Court Of Appeals For the Fifth Circuit, no

 20–50858, and Plaintiff is confident that the Mann decision will be reversed. The Mann

 Court entirely overlooked the fact that website injury is encountered when the plaintiff

 reviews the website and that is the locus of the injury. The Mann Court also completely

 ignored the plain language of the statute and regulation, as well as the Supreme Court,

 various circuit courts and slew of cases on point. The only website case cited by the Mann

 Court was Rizzi v. Hilton Domestic Operating Co., Inc., No. CV 18-1127, 2019 WL 5874327

 (E.D.N.Y. July 18, 2019), for the point that a plaintiff did not have standing for website

 discrimination where he did not intend to visit the hotel. That is not what the Rizzi decision

 stood for, rather it turned solely on the fact that the plaintiff had identified the WRONG

 websites - having failed to name any websites that actually were used for reservations.

 Mann’s inability to read a statute or follow the law was further demonstrated by its ruling

 that the defendant was entitled to attorney fees pursuant to 28 U.S.C. Section 1919 -

 which will be discussed below.

        Defendant’s reference to the Laxmi orders issued in the Nothern District Of New

 York are unavailing. In those cases, the court only issued an order requiring that plaintiff

 file a memorandum to explain her standing. Despite many months having since passed,



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 the Laxmi court has never ruled.

 VII.    Plaintiff Has Established Intent To Return

         Various courts have held that status a tester “ plausibly increases the likelihood that

 he or she will visit the [defendant’s] website again to test its ADA compliance.” Kennedy

 v. Sai Ram Hotels, 2019 U.S. Dist. Lexis 80111, * 9 (M.D. Fla. 2019). Marod, 733 F.3d at

 1336 (explaining that plaintiff’s status as a tester indicated that he would revisit the property

 many times and therefore tended to show a real and immediate threat of future injury);

 Poschmann, 2018 U.S. Dist. Lexis 87457 at *8(holding that returning to the website to

 check it for compliance with the Regulation is a valid reason). In Camacho, the defendant

 had challenged plaintiff’s intent on the basis that he had filed 50 similar complaints

 regarding the websites of schools all over the country. 2019 U.S. Dist. Lexis 209202, at

 *29. The court held that the plaintiff did not need to intend to visit the subject properties,

 but only their websites. Id.

         Critically, in the instant case, the Plaintiff has a system whereby she makes sure she

 visits the ORS in each case shortly after the respective complaint is filed, then again when

 the defendant is required to bring its ORS into compliance with the law. Id. Thus, she

 ensures that she either will again suffer injury if the defendant does not comply with the

 law, or will benefit if the defendant does indeed comply. Under Parks., 2020 U.S. Dist.

 Lexis 86790, at *7, this suffices to establish standing.

 VIII.   Plaintiff Does Intend To Visit Colorado

         Even though such is not necessary for purposes of standing, Plaintiff does indeed

 intend to visit Colorado as soon as the Covid crisis abates. Laufer Affid., para. 5.



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 Significantly, her niece lives in Colorado and Laufer has visited her many times, including

 once a year. Id. She travels throughout the State, intends to do so in her next trip, and

 must stay in area hotels. However, because this Defendant and so many others fail to

 comply with the law, Plaintiff lacks the information she requires to make a meaningful

 choice. Id.

 IX.    Defendant Is Liable For Discrimination Through Third Party ORS Providers

        Defendant attempts to disclaim liability for its discrimination through third party

 providers. Defendant omits the fact that these third parties only provide their services

 pursuant to a contract with the hotel, Defendant accepts reservations made through them,

 and Defendant provided them with the information they have and Defendant interacts with

 these providers on a constant basis. The Regulation imposes liability on Defendant for its

 discriminatory online system, even if operated through third parties. 28 C.F.R. Section

 36.302(e)(1) (the “Regulation”), provides:

        (1)Reservations made by places of lodging. A public accommodation that owns,
        leases (or leases to), or operates a place of lodging shall, with respect to
        reservations made by any means, including by telephone, in-person, or through a
        third party -

 (Emphasis added.) Thus, the Regulation is unequivocally clear and imposes liability on

 hotels which operate discriminatory reservations systems through third parties. The DOJ,

 which promulgated this Regulation, issued guidelines on the subject at issue. In this

 regard, the DOJ stated:

        Hotels and organizations commenting on their behalf also requested that the
        language be changed to eliminate any liability for reservations made through third
        parties, arguing that they are unable to control the actions of unrelated parties. The
        rule, both as proposed and as adopted, requires covered public accommodations
        to ensure that reservations made on their behalf by third parties are made in a


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        manner that results in parity between those who need accessible rooms and those
        who do not.
               Hotels and other places of lodging that use third party reservations services
        must make reasonable efforts to make accessible rooms available through at least
        some of these services and must provide these third party services with information
        concerning the accessible features of the hotel and the accessible rooms. To the
        extent a hotel or other place of lodging makes available such rooms and information
        to a third party reservation provider, but the third party fails to provide the
        information or rooms to people with disabilities in accordance with this section, the
        hotel or other place of lodging will not be responsible.

 Guidelines for 28 C.F.R. Part 36, Nondiscrimination on the Basis of Disability in Public

 Accommodations and Commercial Facilities, Exhibit B attached hereto, p. 133. Thus, it is

 plainly clear that a hotel is directly liable for any failure of its online reservations system to

 comply with the Regulation, even if operated through third parties. See Kennedy v. Siesta

 Inn & Suites, Inc. 2020 U.S. App. Lexis 31073, ** 7-8 (11th Cir. 9/30/20)(unpublished)(hotel

 liable for discrimination through third party sites); Parks v. Richard, 2020 U.S. Dist. Lexis

 127639, passim (M.D. Fla. 7/21//20)(same).

 X.     Defendant’s Claim That Plaintiff Could Have Called The Hotel By Telephone
        Is Meritless

        Defendant argues that Plaintiff could have obtained the information by other means,

 specifically by telephone. This argument has been previously rejected. See Poschman,

 2018 U.S. Dist. Lexis 87457(rejecting argument that plaintiff could have telephoned

 because such is not in the “same manner”); Juscinska, 2019 U.S. Dist. Lexis 92550 **9-10

 (same).

 XI.    Defendant Is Not Entitled To Attorney Fees

        A.      28 U.S.C. Section 1919 Does Not Provide For Attorney Fees

        28 U.S.C. Section 1919 provides: “Whenever any action or suit is dismissed in any



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 district court, the Court of International Trade, or the Court of Federal Claims for want of

 jurisdiction, such court may order the payment of just costs.” This section does not provide

 for an award of attorney fees. Compare and contrast this section with 42 U.S.C. Section

 12205, which provides:

        In any action or administrative proceeding commenced pursuant to this chapter, the
        court or agency, in its discretion, may allow the prevailing party, other than the U.S.,
        a reasonable attorney’s fee, including litigation expenses, and costs...

        By inclusion of “attorney’s fees... and costs” in 12205, but referencing only “costs”

 in Section 1919, it is clear that Congress intended that Section 1919 exclude attorney fees.

 Indeed, several courts have held that Section 1919 excludes any entitlement to attorney

 fees. See Wilkinson v. D.M. Weatherly Co., 655 F.2d 47, (5th Cir. 1981)(Section 1919 does

 not allow for attorney fees); Castillo Grand, LLC v. Sheraton Operating Corp., 719 F.3d

 120, 122 (2d Cir. 2013); Deutsch v. Abijaoude, 2017 U.S. Dist. 31934, **14-15 (W.D. Tex.

 2017)(discussing the difference between attorneys fees awardable pursuant to Section

 12205 and costs awardable under Section 1919). As such 28 U.S.C. Section 1919 would,

 at most, entitle Defendant to only costs, and not attorney fees.         Indeed, “costs” are

 narrowly defined by 28 U.S.C. Section 1920 (filing fees, marshal fees, printing fees,

 witness fees, docket fees, court expert fees, etc.) Attorneys fees are not on this list.

 Indeed, Defendant has no “costs” within the definition of this section.

        Defendant misrepresents MacIntyre v. JP Morgan Chase Bank, N.A., 2019 U.S.Dist.

 Lexis 176292 **4-5 (D. Colo. 2019). Contrary to Defendant’s claim, this case did not state

 that an award of attorneys fees is authorized under 28 U.S.C. Section 1919, but instead

 simply held that section 1919 does not preempt other sections which DO provide for such



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 an award.

        B.     Defendant Is Not Entitled To Attorneys Fees Under Any Circumstance

        Nor is there any other basis for awarding Defendant their attorney fees.

        Even if this Court grants dismissal based on jurisdictional grounds, the requirements

 for such an award under 42 U.S.C. Section 12205 have not been met. First, this Section

 only provides for an award of fees to the “prevailing party”. First, the Supreme Court had

 defined “prevailing party” in civil rights contexts in Buckhannon Bd. & Care Home, Inc. v.

 W. Va. Dep’t of Health & Human Resources, 532 U.S. 598, 603-04 (2002). This requires

 that such a party had obtained either an enforceable judgment or court ordered consent

 decree. Id. Courts have held that dismissal for lack of standing to sue fails to meet this

 threshold requirement. See Access 4 All, Inc. v. Partners Of Kings Pt., Ltd., 10-80779, DE

 91 (S.D. Fla. 3/8/2012), Exhibit B attached hereto, (dismissal for lack of standing does not

 make defendant “prevailing party”): Nat’l Alliance For Accessibility, Inc. And Denise Payne

 v. Bhuna Corp., Case No. 1:11-cv-79, DE 34 (W.D. N.C. April 10, 2012), Exhibit C attached

 hereto (same); Jeffrey Joel Judy v. Pingue, Case No. 2:08-cv-859, DE 42, p. 9 fn. 1 (S.D.

 Oh. Nov. 25, 2009), Exhibit D attached hereto (denying fees to defendant after dismissing

 case for lack of standing); Deutsch, supra(discussing the difference between attorneys

 fees under Section 12205 and costs under Section 1919 and holding defendant not

 prevailing party on dismissed for want of jurisdiction).

        Under Fed. R. Civ. P. 41(b), a dismissal for lack of jurisdiction is NOT an

 adjudication on the merits.

        Even if Defendant were found to be the “prevailing party” it still is not entitled to fees.



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 In Christiansburg Garment Co. v. EEOC, 434 U.S. 412, 421 (1978), the Supreme Court

 held that for a plaintiff to be liable under this Section, the action must have been

 "'unfounded, meritless, frivolous or vexatiously brought[]'", or “where the action brought is

 found to be unreasonable, frivolous, meritless or vexatious." The Court stated that:

        In applying these criteria, it is important that a district court resist the
        understandable temptation to engage in post hoc reasoning by concluding that,
        because a plaintiff did not ultimately prevail, his action must have been
        unreasonable or without foundation. This kind of hindsight logic could discourage
        all but the most airtight claims, for seldom can a prospective plaintiff be sure of
        ultimate success. No matter how honest one's belief that he has been the victim of
        discrimination, no matter how meritorious one's claim may appear at the outset, the
        course of litigation is rarely predictable. Decisive facts may not emerge until
        discovery or trial. The law may change or clarify in the midst of litigation. Even when
        the law or the facts appear questionable or unfavorable at the outset, a party may
        have an entirely reasonable ground for bringing suit.

 Id. at 421-22.

        As stated above, Plaintiff has ample statutory, regulatory and case law in support

 of her standing, and the statute’s and Regulation’s plain language impose on Defendant

 a legal obligation to provide certain information about its hotel’s accessibility to the Plaintiff.

 This is recognized as injury under Spokeo, Inc. v. Robins, 136 S. Ct. 1540 (2016), Havens

 Realty Corp. v. Coleman, 455 U.S. 363 (1982) and a slew of Circuits and numerous courts

 within this Circuit, a plaintiff suffers injury in fact and has a cognizable action if the

 defendant fails to provide the information that is required by law. Therefore, Plaintiff’s

 claims are not unfounded, meritless, frivolous, unreasonable or vexatious as required by

 Christiansburg.

 XII.   Conclusion

        For the foregoing reasons, Defendant’s Motion must be denied.



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                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served via the
 Court's electronic filing system upon all parties of record this hic2af1dbc2af1loc2f1
 November 12, 2020.
                                           /s/Suzette M. Marteny Moore
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